                                                                                                                         JV
                                          UNITED STATES BANKRUPTCY COURT
                                        FOR THE MIDDLE DISTRICT OF TENNESSEE

DEBTORS JETHRO SHELDON THURSTON                                                                 Case No.   20-00625-MH3-13
        JENNIFER LEIGH THURSTON
            SSN XXX-XX- 0803 SSN XXX-XX- 8042



                  ORDER CONFIRMING CHAPTER 13 PLAN AND GRANTING RELATED MOTIONS

                                                   CONFIRMED WITH CHANGES

The Court finds that all information required under § 521(a)(1)(B) has been submitted and that the case is not dismissed under §
521(i). The Court further finds that it is in the best interests of creditors and the estate to confirm this case .
The debtors' plan has been transmitted to scheduled creditors and it has been determined after notice and an opportunity for
hearing that the plan meets the confirmation requirements of 11 U.S.C. § 1325 and all timely objections to confirmation have been
withdrawn, resolved, or overruled. It is, therefore, ORDERED:
    1. The plan is confirmed as set out below.
    2. A timely proof of claim must be filed before the creditor will be paid under the plan.
    3. The debtors shall not incur any debts without approval from the trustee or this Court , except debts necessary for
       emergency medical or hospital care.
    4. The debtors shall not reduce the amounts withheld for taxes on a W-4 submitted to an employer without approval of the
       trustee or the Court.

    5. The trustee shall deduct permitted compensation and expenses in accordance with 28 U.S.C. §586(e).

    6. Before making any disbursements to creditors under the plan, the trustee shall disburse to the Court Clerk the sum of
       $310.00 for filing fees.

    7. The debtors shall be responsible for the preservation and protection-including insurance-of all property of the estate .
    8. The trustee and the debtors retain the right to object to any claims or supplements to claims and to pursue any causes of
       action for the benefit of the debtors or the estate-including avoidance and recovery actions and actions that would upset
       the liens of creditors treated as secured under the confirmed plan.


PART 1:     NOTICES

    The confirmed plan DOES include nonstandard provisions, set out in Part 9 below.
                                Order Confirming Chapter 13 Plan and Granting Related Motions                         Page 1 of 10




           Case 3:20-bk-00625            Doc 40       Filed 05/19/20 Entered 05/19/20 15:15:28                     Desc Main
                                                      Document Page 1 of 10
Debtors        THURSTON                                                        Case number      20-00625-MH3-13



    This order is final and binding under 11 U.S.C. § 1327 upon entry of the order. This order may include provisions different
    than what was contained in the original plan. Parties are encouraged to carefully review the terms of this order and the
    previously noticed plan. Any request to reconsider the terms of this order should be raised within 14 days.
    An exhibit attached to this order lists the claims treated under this confirmed plan as of the submission of this order to the
    Court. This list is subject to modification based on the subsequent allowance or disallowance of claims .

PART 2:      PLAN PAYMENTS AND LENGTH OF PLAN

Debtors will make payments to the trustee as follows:

    $1,283.00 SEMI-MONTHLY from CRACKER BARREL OLD COUNTRY STORE

    [PLUS NET PI PROCEEDS]

    The plan is expected to last approximately 60 months. The plan will not be complete unless the payments to creditors
    specified in this order have been made.

Plan “base” and income tax refunds:
    Debtors shall pay to the trustee a minimum amount, called a “base,” of $153,900.00 plus net PI proceeds.

    Any funds remaining from the base after making the other disbursements required by this order shall be used to increase the
    distribution to allowed nonpriority unsecured claims addressed in § 5.1.

PART 3:      TREATMENT OF SECURED CLAIMS

3.1 Maintenance of payments and cure of default under 11 U.S.C. § 1322(b)(5).

          There are no long term claims paid by the Trustee.


3.2 Valuation of security and claim modification.
    For each claim listed below, the Court determines the value of the creditor’s interest in any property securing the
    claim in accordance with the amount stated in the column headed Value securing claim. If this amount exceeds any
    allowed claim amount, the claim will be paid in full with interest at the rate stated below. If the amount is less than
    the allowed claim amount, the claim will be paid the full value securing the claim, with interest at the rate stated
    below.
    The portion of any allowed claim that exceeds the value securing the claim will be treated as an unsecured claim
    under § 5.1. If the value securing a creditor’s claim is listed below as zero or no value, the creditor’s allowed claim
    will be treated entirely as an unsecured claim under § 5.1. The avoidance of any lien because it is not secured by any
    value must be addressed in Part 9. The amount of a creditor’s total claim stated on a proof of claim filed in
    accordance with the Bankruptcy Rules controls over any contrary amount stated below.
    The holder of any claim listed below as secured by any value will retain the lien until the earlier of :
    (a)      payment of the underlying debt determined under nonbankruptcy law, or
    (b)      discharge under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.
    If relief from the automatic stay is ordered as to any collateral listed below, all payments under this section to creditors
    secured by that collateral will cease.

                                                             Chapter 13 Plan                                      Page 2 of 10




             Case 3:20-bk-00625         Doc 40     Filed 05/19/20 Entered 05/19/20 15:15:28                    Desc Main
                                                   Document Page 2 of 10
Debtors       THURSTON                                                             Case number          20-00625-MH3-13


                                                                                                        Value of
                                                                   Amount                              collateral
                                                                      of                Value securing less than Interest                 Monthly
Creditor/Collateral                                                 Claim                   claim                 Rate                    Payment
                                                                                                        Claim?
BRIDGECREST CREDIT COMPANY LLC                                      $6,486.58             $4,500.00           Yes        5.00%               $84.92
 06 CHRYSLER 300

BRIDGECREST CREDIT COMPANY LLC                                     $14,568.32             $11,500.00          Yes        5.00%              $217.02
 2015 DODGE DART COSIGNER



3.3 Secured claims excluded from 11 U.S.C. § 506.
                                             --------------- NONE ---------------

3.4 Lien avoidance.
                                                      --------------- NONE ---------------

3.5 Surrender of collateral.
                                                      --------------- NONE ---------------

PART 4: TREATMENT OF PRIORITY CLAIMS (INCLUDING ATTORNEY'S FEES AND DOMESTIC SUPPORT
OBLIGATIONS)

4.1 Attorney’s fees.
     The balance of fees currently owed to SCOTT D WILSON is $4,250.00. The total fee awarded to the attorney is $4,250.00 pursuant to
     Administrative Order 20-2.

     Except for any fees retained as a "Success Incentive" , the balance of fees awarded by this order and any additional fees that may be
     awarded shall be paid through the trustee as follows: Available funds.



4.2 Domestic support obligations.

(a) Pre- and postpetition domestic support obligations to be paid in full.
                                                           ----------NONE----------

(b) Domestic support obligations assigned or owed to a governmental unit and paid less than full amount .
                                                           ----------NONE----------

4.3 Other priority claims.

The priority claims listed below will be paid in full through the trustee. Amounts stated on a proof of claim filed in accordance
with the Bankruptcy Rules control over any contrary amounts listed below.
Name of Creditor                                                        Estimated amount of claim to be paid
UNITED STATES TREASURY                                                  $11,090.11
17 18 19 INCOME TAX

                                                                 Chapter 13 Plan                                           Page 3 of 10




            Case 3:20-bk-00625             Doc 40      Filed 05/19/20 Entered 05/19/20 15:15:28                        Desc Main
                                                       Document Page 3 of 10
Debtors      THURSTON                                                       Case number        20-00625-MH3-13




PART 5:    TREATMENT OF NONPRIORITY UNSECURED CLAIMS AND POSTPETITION CLAIMS

5.1 Nonpriority unsecured claims not separately classified.

   Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata . A minimum sum of $66,000.00
   and a minimum dividend of 40.000% shall be paid to these claims. Any funds remaining after disbursements have been made
   to all other creditors provided for in this plan shall also be distributed to these claims .



5.2 Interest on allowed nonpriority unsecured claims not separately classified.
N/A

5.3 Maintenance of payments and cure of default on nonpriority unsecured claims.
                                               --------------- NONE ---------------

5.4 Separately classified nonpriority unsecured claims.
                                               --------------- NONE ---------------

5.5 Postpetition claims allowed under 11 U.S.C. § 1305.

   Claims allowed under 11 U.S.C. § 1305 will be paid in full through the trustee.
                                                  ----------NONE----------

PART 6:    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

6.1 The executory contracts and unexpired leases listed below are assumed and treated as specified. All other executory
    contracts and unexpired leases are rejected.
Assumed contracts or leases. Current installment payments will be disbursed by the trustee or directly by the debtors , as
specified below. Arrearage payments will be paid in full through the trustee. Amounts stated on a proof of claim filed in
accordance with the Bankruptcy Rules control over any contrary amounts listed below as to the installment payment and
arrearage.

                                                                     CURRENT                               ARREARS

                                                       Monthly                      Total to        Amount to           Monthly
Creditor/Collateral                                                                                  be paid            Payment
                                                       Payment                      be paid
J AND L SALES AND RENTALS LLC                           $169.50                    $8,294.00         $1,407.50              pro rata

10X20 SHED                                                     Disbursed by: trustee                    Disbursed by: trustee

VERIZON WIRELESS                                      per contract            per contract            $0.00(e)                n/a
                                                      if applicable           if applicable
CELL PHONE                                                     Disbursed by: debtor                     Disbursed by: trustee



                                                          Chapter 13 Plan                                    Page 4 of 10




           Case 3:20-bk-00625         Doc 40     Filed 05/19/20 Entered 05/19/20 15:15:28                 Desc Main
                                                 Document Page 4 of 10
Debtors        THURSTON                                                        Case number      20-00625-MH3-13



PART 7:       ORDER OF DISTRIBUTION OF AVAILABLE FUNDS BY TRUSTEE

7.1 The trustee will make monthly disbursements of available funds in the order indicated by the “disbursement
    levels” in the attached Exhibit.
   If available funds in any month are not sufficient to disburse all fixed monthly payments due under the plan for any
   disbursement level, the trustee shall allocate available funds to the claims in that disbursement level pro rata. If available
   funds in any month are not sufficient to disburse any current installment payment due under § 3 .1, the trustee shall
   withhold the partial payment amount and treat the amount as available funds in the following month .

PART 8:       VESTING OF PROPERTY OF THE ESTATE

8.1 Property of the estate will vest in the debtors upon discharge or closing of the case, whichever occurs earlier, unless an
    alternative vesting date is specified below:


PART 9:           NONSTANDARD PLAN PROVISIONS

Surrender (BED AND TV) to BUDDYS HOME FURNISHINGS per rejected contract .


 Student Loan IDR Plan Provisions

 I. Eligibility to Enroll in IDR Plan During Bankruptcy. The Debtor shall not be disqualified due to this bankruptcy
     filing or the pending pendency of this bankruptcy case shall not disqualify the Debtor from participation in any
     income-driven repayment ("IDR") plan for student loan debt or from any nonbankruptcy option for getting a student
     loan debt out of default, for which Debtor would otherwise be qualified. The Debtor shall request a plan modification
     upon any enrollment in an IDR plan if the Debtor enrolls in an IDR plan and shall request appropriate Court approval
     for participation in an option for getting a student loan debt out of default . In the absence of a plan modification, the
     plan provides for the Debtor’s student loan debt under the applicable provisions of Part 5 or as otherwise stated in any
     nonstandard provisions in Part 9.

 II. Dischargeability of Student Loan Debt. This plan does not provide for the discharge of any portion of the Debtor's
      federal student loan debt(s) under title 11, but it does not preclude a determination of dischargeability in an adversary
      proceeding.

 III.     Waiver of Automatic Stay. The Debtor expressly waives the application of the automatic stay under § 362(a) as to
        all communications concerning: (1) enrollment or participation in an IDR plan and (2) nonbankruptcy options for
        getting a student loan debt out of default. The Debtor also expressly waives the application of the automatic stay under
        § 362(a), to the extent necessary to effectuate this Chapter 13 plan, and as to all loan servicing and administrative
        actions concerning: (1) an IDR plan and (2) nonbankruptcy options for getting a student loan debt out of defaultto the
        extent necessary to effectuate this Chapter 13 plan.

 IV.      Opportunity for Claimholder to Cure. Before instituting any action against a federal student loan claimholder
        under 11 U.S.C. § 362 or for failure to comply with this plan, the Debtor first shall give notice in writing by letter
        describing any alleged action that is contrary to the plan or 11 U.S.C. § 362(a) and provide a reasonable opportunity to
        review and, if appropriate, correct such actions. Any notice given under this provision must include the Debtors’s
        name(s), bankruptcy case number, and identification of the Federal Student Loans, and must be mailed to:


                                              c/o The United States Attorney’s Office
                                                             Chapter 13 Plan                                      Page 5 of 10




             Case 3:20-bk-00625          Doc 40     Filed 05/19/20 Entered 05/19/20 15:15:28                  Desc Main
                                                    Document Page 5 of 10
Debtors      THURSTON                                                      Case number     20-00625-MH3-13


                                                Middle District of Tennessee
                                             110 9th Avenue South, Suite A-961
                                                 Nashville, Tennessee 37203




Approved:
/s/SCOTT D WILSON
SCOTT D WILSON                                                                      MARIAN F HARRISON
ATTY FOR THE DEBTOR                                                                 Bankruptcy Judge
WILSON LEGAL SERVICES
405 1/2 A 31ST AVE N
NASHVILLE, TN 37209
615-297-2400
wilsonlgl@hotmail.com



Original 341 Date: March 17, 2020 11:00 am
Case no: 20-00625-MH3-13
Printed:    05/19/2020       2:56 pm




                                                         Chapter 13 Plan                                  Page 6 of 10




            Case 3:20-bk-00625        Doc 40     Filed 05/19/20 Entered 05/19/20 15:15:28               Desc Main
                                                 Document Page 6 of 10
Debtors        THURSTON                                                      Case number       20-00625-MH3-13


                                                             EXHIBIT
                        SCHEDULED AND ALLOWED CLAIMS AND ORDER OF DISTRIBUTION
   The list below identifies the claims treated under this confirmed plan as of the submission of this order to the Court . This
   list is subject to modification based on the subsequent allowance or disallowance of claims .
   The “disbursement level” indicates the order of distribution on a monthly basis. See Part 7 of the attached Order.
   * An asterisk next to a claim indicates that a proof of claim has been filed for the listed creditor. No disbursements will be
   made on any claim pursuant to the plan unless a timely proof of claim is filed.
   ! An exclamation mark next to a claim indicates the trustee has placed a “reserve” on the claim and will withhold
   disbursements pending a further determination. For information about a “reserve” contact the trustee’s office.
                                                                                                                      Order of
               Name of Creditor                                Type of Claim                                         Distribution

               US BANKRUPTCY COURT                             FILING FEE                                                      1
               US BANKRUPTCY COURT                             NOTICE FEE                                                      2
   *           BRIDGECREST CREDIT COMPANY LLC                  AUTOMOBILE LOAN                                                 3
               06 CHRYSLER 300
   *           BRIDGECREST CREDIT COMPANY LLC                  AUTOMOBILE LOAN                                                 3
               2015 DODGE DART COSIGNER
   *           J AND L SALES AND RENTALS LLC                   COSTED - LEASE PYMT/POST PET                                    3
               10X20 SHED
               SCOTT D WILSON                                  ATTORNEY FEE                                                    4
   *           J AND L SALES AND RENTALS LLC                   LEASE ARREARS                                                   5
               10X20 SHED
   *           UNITED STATES TREASURY                          PRIORITY CREDITOR                                               6
               17 18 19 INCOME TAX
          !    SCOTT D WILSON                                  ATTY SUCCESS INCENTIVE/PRIOR ATTY                               7
               ADVANCED DIAGNOSTIC                             UNSECURED CREDITOR                                              8
   *           ADVANCED SLEEP OF MIDDLE TN                     UNSECURED CREDITOR                                              8
               ADVANCED SLEEP OF MIDDLE TN                     UNSECURED CREDITOR                                              8
               AMERICAN MEDICAL RESPONSE OF T                  UNSECURED CREDITOR                                              8
               AMERICAN MEDICAL RESPONSE OF TN                 UNSECURED CREDITOR                                              8
   *           ASCENDIUM EDUCATION SOLUTIONS                   UNSECURED CREDITOR                                              8
               STUDENT LOAN
   *           AT T MOBILITY II LLC                            UNSECURED CREDITOR                                              8
   *           BANK OF MISSOURI                                UNSECURED CREDITOR                                              8
               VISA CC
               BIG PICTURE LOANS                               UNSECURED CREDITOR                                              8
   *           CASHNETUSA                                      UNSECURED CREDITOR                                              8
                                                           Chapter 13 Plan                                      Page 7 of 10




              Case 3:20-bk-00625       Doc 40     Filed 05/19/20 Entered 05/19/20 15:15:28                  Desc Main
                                                  Document Page 7 of 10
Debtors    THURSTON                                             Case number   20-00625-MH3-13


           CHASE CARD SERVICES                    UNSECURED CREDITOR                                      8
           CC
   *       CHECK INTO CASH                        UNSECURED CREDITOR                                      8
           CREDIT ONE BANK                        UNSECURED CREDITOR                                      8
           DIRECTV                                UNSECURED CREDITOR                                      8
   *       DIRECTV LLC                            UNSECURED CREDITOR                                      8
           FINGERHUT                              UNSECURED CREDITOR                                      8
           FINGERHUT                              UNSECURED CREDITOR                                      8
           FIRST ACCESS                           UNSECURED CREDITOR                                      8
           FIRST NATIONAL BANK LEGACY             UNSECURED CREDITOR                                      8
           CC
           GREAT LAKES HIGHER EDUCATION           UNSECURED CREDITOR                                      8
           STUDENT LOAN
   *       HARPETH FINANCIAL                      UNSECURED CREDITOR                                      8
           JUDGMENT
   *       JEFFERSON CAPITAL SYSTEMS LLC          UNSECURED CREDITOR                                      8
           FIRST PREMIER BANK
   *       JEFFERSON CAPITAL SYSTEMS LLC          UNSECURED CREDITOR                                      8
           FIRST PREMIER BANKCARD
           KNIGHT AND HOOPER PLLC                 UNSECURED CREDITOR                                      8
           LVNV FUNDING                           UNSECURED CREDITOR                                      8
   *       LVNV FUNDING LLC                       UNSECURED CREDITOR                                      8
           CREDIT ONE BANK
   *       MASSEYS                                UNSECURED CREDITOR                                      8
           MERRICK BANK                           UNSECURED CREDITOR                                      8
           MERRICK BANK CARDWORKS                 UNSECURED CREDITOR                                      8
           CC
   *       MIDNIGHT VELVET                        UNSECURED CREDITOR                                      8
           MONROE CARELL JR CHILDRENS HOSPITAL
                                             UNSECURED CREDITOR                                           8
   *       NATIONAL CREDIT ADJUSTERS              UNSECURED CREDITOR                                      8
           SPEEDY CASH
           NAVIENT                                UNSECURED CREDITOR                                      8
           STUDENT LOAN
           NAVIENT                                UNSECURED CREDITOR                                      8
           STUDENT LOAN
           NAVIENT                                UNSECURED CREDITOR                                      8
           STUDENT LOAN

                                              Chapter 13 Plan                              Page 8 of 10




          Case 3:20-bk-00625   Doc 40   Filed 05/19/20 Entered 05/19/20 15:15:28        Desc Main
                                        Document Page 8 of 10
Debtors    THURSTON                                             Case number   20-00625-MH3-13


           NAVIENT                                UNSECURED CREDITOR                                      8
           STUDENT LOAN
           NAVIENT                                UNSECURED CREDITOR                                      8
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           STUDENT LOAN
           NAVIENT                                UNSECURED CREDITOR                                      8
           STUDENT LOAN
           NAVIENT                                UNSECURED CREDITOR                                      8
           STUDENT LOAN
   *       NEUROLOGY CLINIC AND ASSOC             UNSECURED CREDITOR                                      8
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
           TWO RIVERS EMERGENCY PHYSICIAN
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II           UNSECURED CREDITOR                                      8
                                              Chapter 13 Plan                              Page 9 of 10




          Case 3:20-bk-00625   Doc 40   Filed 05/19/20 Entered 05/19/20 15:15:28        Desc Main
                                        Document Page 9 of 10
Debtors    THURSTON                                              Case number   20-00625-MH3-13


           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II            UNSECURED CREDITOR                                   8
           SOLOMON EMERGENCY PHYSICIANS
   *       PENDRICK CAPITAL PARTNERS II            UNSECURED CREDITOR                                   8
           SOLOMON EMERGENCY PHYSICIANS
           PIONEER CREDIT RECOVERY                 UNSECURED CREDITOR                                   8
   *       PORTFOLIO RECOVERY ASSOCIATES LLC UNSECURED CREDITOR                                         8
           BARCLAYS BANK DELWARE
           RUTHERFORD COUNTY EMERGENCY ME UNSECURED CREDITOR                                            8
   *       SCOLOPAX LLC                            UNSECURED CREDITOR                                   8
           TEMPOE
           SECURITY CREDIT SERVICES                UNSECURED CREDITOR                                   8
   *       SEVENTH AVENUE                          UNSECURED CREDITOR                                   8
           SUMMIT MEDICAL CENTER                   UNSECURED CREDITOR                                   8
   *       TEA OLIVE LLC                           UNSECURED CREDITOR                                   8
           CASHNETUSA
           TEMPOE LLC                              UNSECURED CREDITOR                                   8
   *       TENNESSEE QUICK CASH                    UNSECURED CREDITOR                                   8
           JUDGMENT
           TENNOVA HEALTHCARE                      UNSECURED CREDITOR                                   8
           TENNOVA HEALTHCARE                      UNSECURED CREDITOR                                   8
           TENNOVA HEALTHCARE LEBANON              UNSECURED CREDITOR                                   8
           TENNOVA HEALTHCARE LEBANON              UNSECURED CREDITOR                                   8
           TENNOVA HEALTHCARE LEBANON              UNSECURED CREDITOR                                   8
           USDOE GLELSI                            UNSECURED CREDITOR                                   8
           STUDENT LOAN
           WILSON BANK AND TRUST                   UNSECURED CREDITOR                                   8
   *       WORLD FINANCE                           UNSECURED CREDITOR                                   8
           1305 CLAIM                              UNSECURED - 1305                                     9




                                               Chapter 13 Plan                              Page 10 of 10




          Case 3:20-bk-00625   Doc 40    Filed 05/19/20 Entered 05/19/20 15:15:28        Desc Main
                                        Document Page 10 of 10
